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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

SPECIFIX FASTENERS PTY LTD, et al.,              )   CASE NO.:       1:15-cv-01366-CAB
                                                 )
               Plaintiffs,                       )   Judge Christopher A. Boyko
                                                 )
       v.                                        )
                                                 )
ALLFASTENERS USA LLC, et al.,                    )
                                                 )
               Defendants.                       )
                                                 )
                                                 )



                              STIPULATED MOTION TO SEAL


       IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto,

through their undersigned counsel and subject to the approval of the Court, that the Clerk of

Courts shall place under seal Plaintiff’s Reply Brief in Support of Motion for Preliminary

Injunction (“PI Reply Brief”) (ECF # 25), filed on September 8, 2015, because it contains

Defendants’ CONFIDENTIAL-ATTORNEYS’ EYES ONLY trade secret information. Pursuant

to Section 7 of the Protective Order (ECF # 34), Plaintiffs will file a redacted version of the PI

Reply Brief for public inspection.
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Dated: November 13, 2015              Respectfully submitted,

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IT IS SO ORDERED this ______ day of ________________, 2015.



                                                ___________________________
                                                CHRISTOPHER A. BOYKO
                                                United States District Judge
